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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
GENOVA BURNS LLC                            BROWN RUDNICK LLP
Daniel M. Stolz, Esq.                       David J. Molton, Esq.
Donald W. Clarke, Esq.                      Michael S. Winograd, Esq.
Gregory S. Kinoian, Esq.                    Susan Sieger-Grimm, Esq.
dstolz@genovaburns.com                      Kenneth J. Aulet, Esq.
dclarke@genovaburns.com                     dmolton@brownrudnick.com
gkinoian@genovaburns.com                    mwinograd@brownrudnick.com
110 Allen Road, Suite 304                   ssieger-grimm@brownrudnick.com
Basking Ridge, NJ 07920                     kaulet@brownrudnick.com
Tel: (973) 467-2700                         Seven Times Square
Fax: (973) 467-8126                         New York, NY 10036
Proposed Local Counsel for the Official     Tel: (212) 209-4800
Committee of Talc Claimants                 Fax: (212) 209-4801
                                            And-
                                            Jeffrey L. Jonas, Esq.
                                            Sunni P. Beville, Esq.
                                            Eric R. Goodman, Esq.
                                            jjonas@brownrudnick.com
                                            sbeville@brownrudnick.com
                                            egoodman@brownrudnick.com
                                            One Financial Center
                                            Boston, MA 02111
                                            Tel: (617) 856-8200
                                            Fax: (617) 856-8201
                                            Proposed Co-Counsel for the
                                            Official Committee of Talc Claimants

OTTERBOURG PC                                MASSEY & GAIL LLP
Melanie L. Cyganowski, Esq.                 Jonathan S. Massey, Esq.
Jennifer S. Feeney, Esq.                    Rachel S. Morse, Esq.
Michael R. Maizel, Esq.                     jmassey@masseygail.com
mcyganowski@otterbourg.com                  rmorse@masseygail.com
jfeeney@otterbourg.com                      1000 Maine Ave. SW, Suite 450
mmaizel@otterbourg.com                      Washington, DC 20024
230 Park Avenue                             Tel: (202) 652-4511
New York, NY 10169                          Fax: (312) 379-0467
Tel: (212) 905-3628                         Proposed Co-Counsel for the Official Committee
Fax: (212) 682-6104                         of Talc Claimants
Proposed Co-Counsel for the Official
 Committee of Talc Claimants
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                                                            Chapter 11
    In re:
    LTL MANAGEMENT LLC,1                                    Case No.: 23-12825 (MBK)

                             Debtor.                        Honorable Michael B. Kaplan


                             CERTIFICATION OF PROFESSIONAL IN
                             SUPPORT OFAPPLICATION FOR RETENTION
                             OF PROFESSIONAL

      I, Jeffrey Carhart, being of full age, certify as follows:

               1.       I am a Partner of or associated with the firm of Miller Thomson LLP (“MT”). MT
                        is seeking authorization to be retained as Canadian counsel to the Official
                        Committee ofTalc Claimants (the “Committee”).

               2.       My professional credentials include: I have been practicing law for over 37 years.
                        Myself and members of my team have significant insolvency and cross border
                        experience, including representing official committees of a similar nature.
                        Examples of cases our team has been involved in include, In re Muscletech
                        Research & Development (mass-tort claim cross-border insolvency case in Southern
                        District of New York); In re Quadriga Fintech Solutions Inc. (Estate No. 31-
                        2560986) (the first cryptocurrency insolvency proceeding in Canada; and In re
                        ENTREC Corporation et. al. (Case No. 20-32643, Southern District of Texas). MT
                        has also acted as special (Canadian) counsel to the Official Committee of Talc
                        Claimants in the Debtors’ first Chapter 11 Case, which was dismissed by the Third
                        Circuit, as well as Canadian counsel to an Ad Hoc Committee of Talc Claimants in
                        this Chapter 11 Case. I am a member in good standing of the Bar of the Province of
                        Ontario (Law Society of Ontario 23645M) and am admitted to practice before the
                        Ontario Superior Court of Justice, the Court of Appeal of Ontario, and the Supreme
                        Court of Canada.

               3.       MT, along with each of the other firms the Committee has proposed to retain, serves
                        a distinct purpose from the others:

                        a.    Brown Rudnick serves as lead bankruptcy counsel, providing a deep bench of
                              attorneys with core bankruptcy, bankruptcy litigation and mass tort bankruptcy
                              experience.
                        b.    Otterbourg serves as lead mass tort/litigation counsel and special bankruptcy
                              counsel, providing the unique perspective of a former bankruptcy chief judge
                              and expertise in preliminary injunction and district court litigation.
                        c.    Massey & Gail serves as special counsel, providing unparalleled mass tort and
                              other complex case experience before trial and appellate courts, including the
                              Supreme Court.
                        d.    Genova Burns serves as local counsel, one of few New Jersey firms with
                              appropriate experience that is without conflicts in this case.


1
     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
     Street, New Brunswick, New Jersey 08933.
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              e.    Miller Thomson will serve as Canadian counsel to the Committee.

         4.   As part of the allocation of responsibilities of each of the firms referenced in
              paragraph 3 of this certification, an efficient multi-step system has been developed
              and implemented by each of these firms to determine allocations of work relating to
              the bankruptcy case and related proceedings and matters. First, a small group of
              senior partners confer to determine strategy in consultation with Committee members
              and their designated representatives. Next, one firm is assigned primary
              responsibility for a task. Once a task has been preliminarily completed, it is reviewed
              by the other firms, allowing the firm to which the task was assigned to benefit from
              the extensive knowledge and varying perspectives of co-counsel. Once the co-
              counsel have signed off on a particular task, it is circulated to the Committee for
              review and comment. MT intends to participate in this process to ensure legal
              services are provided to the Committee cost-effectively. MT believes that the above
              protocol is consistent with effective management of assignments in a mega
              bankruptcy case as well as how such matters are handled by large law firms such as
              those sought to be retained by the Debtor and their affiliates in other bankruptcy
              cases.

         5.   MT has reviewed the Known Parties in Interest List (as defined below). As of this
              filing, MT did not discover any connections that would render MT ineligible for
              retention and will continue to monitor, investigate and update its retention
              documents.

         6.   The proposed arrangement for compensation, including hourly rates, if applicable,
              is as follows: MT will be compensated at its standard hourly rates for matters of this
              nature, which are based on the professional’s level of experience. At present, the
              standard hourly rates charged by MT are as follows:

                                    Biller                       Rate/Hour
                                                                  (CAD)
                       Partners                                 $700 -$1100
                       Associates                               $400 - $600
                       Paralegals                               $300 - $400
              MT adjusts its billing rates on a semi-annual basis and will provide notice to the
              Committee, the Debtor, and all parties requesting notice of any adjusted hourly rates
              during the case. Based on our experience in the Debtor’s first Chapter 11 Case, we
              anticipate the team working on this case will comprise the following lawyers:
              (1)       Jeffrey Carhart is a senior partner in the insolvency group at MT. He has
              extensive experience in cross-border, mass-tort restructuring proceedings. Mr.
              Carhart functions as the top-level strategic decision maker on behalf of MT in this
              case.
              (2)        Gavin Finlayson is a senior partner in MT’s litigation group. Mr.
              Finlayson’s attendance at meetings and role on the various aspects of this case
              focuses on litigation issues within the restructuring proceedings. He also advises on
              issues related to class action litigation in Canada, as the system is materially different
              than in the United States. This case involves many specific and nuanced litigation-
              related issues which implicate various statutes including provincial class proceeding
              statutes.
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              (3)       Asim Iqbal is a junior partner in the insolvency group at Miller Thomson
              and has significant experience in Canada-US cross border matters. Mr. Iqbal is
              responsible for the day-to-day implementation of strategic decisions of the Official
              Committee as they relate to the Canadian proceeding or Canadian legal issues. This
              case involves a high volume of meetings, liaison with counsel and other stakeholders
              and reporting. Mr. Iqbal acts as the liaison between the strategic partners and the
              associates and other team members who assist with specific case-related tasks.
              (4)        Monica Faheim is a junior associate in the insolvency and restructuring
              group at Miller Thomson. She takes instruction directly from the partners in the Core
              Group, primarily from Mr. Iqbal, and assists each of Mr. Carhart, Mr. Finlayson and
              Mr. Iqbal with various day-to-day case tasks including research, drafting of
              correspondence, summaries, and other tasks on an on-going basis. Where additional
              members outside of the Core Group are asked to participate on a distinct task in the
              case, Mrs. Faheim acts as a liaison and provides the necessary background and
              information efficiently for the purpose of assisting with the completion of the
              relevant task(s).

         7.   MT acted as Special (Canadian) Counsel to the Committee in the Debtor’s first
              Chapter 11 Case. In that case, MT filed supplemental certifications in order to
              provide, among other things, additional disclosures with respect to conflict checks.
              For the purpose of this retention application, I hereby affirm the following that was
              included in such supplemental certifications:
                             a) MT used its customary procedures to comply with the
                                 requirements of the Bankruptcy Code, the Bankruptcy Rules and
                                 the Local Rules regarding the retention of professionals by the
                                 Committee under the Bankruptcy Code (the “Disclosure
                                 Procedures”). Attached at Exhibit 2 to this Certification is a
                                 complete list of its connections based on the results of the
                                 Disclosure Procedures, including all existing client relationships
                                 (the “Connections List”).
                             b) The results of the Disclosure Procedures indicated that MT
                                 represents Imerys Talc Canada Inc. (“Imery’s Canada”) in
                                 certain unrelated matters.
                             c) MT represents Imery’s Canada in two matters. One matter is
                                 subject to a non-disclosure agreement, and one is not public. In
                                 order to provide further clarity as part of this Application, MT
                                 provides Imery’s Canada with advisory services in connection
                                 with non-litigious, contractual matters in Canada. MT does not,
                                 and will not, represent Imery’s Canada in any way related to the
                                 Debtor, Johnson & Johnson (and its affiliates), any insolvency
                                 proceeding to which Imery’s Canada or its affiliates are subject,
                                 nor any talc-related liabilities or litigation in Canada or the USA.
                             d) I am advised that while Imery’s Canada has been a client since
                                 2013, MT has no current open matters for Imery’s Canada. All
                                 of the relationship partners at Miller Thomson for Imery’s
                                 Canada have been made aware that they may not act on any
                                 matter related to LTL Management, J&J or its affiliated entities.
                             e) MT’s Restructuring and Insolvency Group has national coverage
                                 across Canada with a significant presence the Canadian
                                 Provinces of Ontario, Alberta and British Columbia. On or about
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                                   November 17, 2022, a new lawyer, James Reid, joined MT’s
                                   Restructuring and Insolvency Group in the Calgary office. Prior
                                   to joining Miller Thomson, Mr. Reid was a lawyer at Blake,
                                   Cassels and Graydon LLP (“Blakes”), which is Canadian
                                   Counsel to the Debtor in this Chapter 11 case.
                                f) As part of MT onboarding process, MT conflict team identified
                                   all potential conflicts, including with respect to this Chapter 11
                                   Case, and established appropriate walls to maintain
                                   confidentiality. In particular, as a result of the establishment of
                                   an ethical wall: (i) Mr. Reid has no access to any electronic files
                                   stored on MT’s electronic document management system; (ii)
                                   stored physical files (if any) are isolated from Mr. Reid, so he is
                                   unable to have access to them; (iii) Mr. Reid has no access this
                                   file on MT’s docketing system to record or review any dockets
                                   in connection with this matter; and (iv) a communication
                                   memorandum was sent to all of the other lawyers advising of the
                                   creation of the ethical wall with respect to Mr. Reid and to advise
                                   MT lawyers to not communicate with Mr. Reid about file-related
                                   matters.
                                g) With respect to this Chapter 11 Case, no member of the MT team
                                   working on the case has had any substantive discussions about
                                   the case with Mr. Reid. In one introductory conversation with
                                   Mr. Reid, I mentioned our role acting for the Committee in this
                                   Chapter 11 Case; but, after becoming aware that he was
                                   employed at Blakes, no further or substantive discussion
                                   occurred. Moreover, as described above, an ethical wall has been
                                   established and all firm members have been made aware of the
                                   establishment of such wall.


        ☐ Pursuant to D.N.J. LBR 2014-3, I request a waiver of the requirements of D.N.J. LBR 2016-
          1.

         8.      MT incurred fees in connection with its role as Special (Canadian) Counsel to the
                 Committee in the Debtor’s first Chapter 11 Case. However, at this time, there are
                 no amounts owing to MT. This is because for a period of time during its retention
                 in the Debtor’s first Chapter 11 Case, MT charged Canadian Harmonized Sales Tax
                 (HST) on bills rendered. It was later brought our attention that HST was not required
                 to be charged. After further consultation and review, MT agreed with the Fee
                 Examiner appointed in the Debtor’s first Chapter 11 case to provide the Debtor with
                 a credit for the HST charged on its final bills issued in the first Chapter 11 Case.
                 After applying such credit, MT is not owed any fees from the Debtor in connection
                 with its first Chapter 11 Case and currently holds CAD $16,283.69, which MT will
                 to apply against future fees incurred in this Chapter 11 Case, should this court
                 approve MT’s retention.

         9.      To the best of my knowledge, after reasonable and diligent investigation, my
                 connectionwith the debtor(s), creditors, any other party in interest, their respective
                 attorneys and accountants, the United States trustee, or any person employed in
                 the office of theUnited States trustee, is as follows:
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                a.    None

               X     Describe connection: See Exhibit 2

         10.    To the best of my knowledge, after reasonable and diligent investigation, the
                connection of my firm, its members, shareholders, partners, associates, officers
                and/or employees with the debtor(s), creditors, any other party in interest, their
                respective attorneys and accountants, the United States trustee, or any person
                employed in the office of theUnited States trustee, is as follows:

                a.    None

               X     Describe Connection: See Exhibit 2


         11.    To the best of my knowledge, my firm, its members, shareholders, partners,
                associates,officers and/or employees and I (check all that apply):
                X do not hold an adverse interest to the estate.

                X do not represent an adverse interest to the estate.

                X are disinterested under 11 U.S.C. § 101(14).

                X do not represent or hold any interest adverse to the debtor or the estate withrespect
                to the matter for which I will be retained under 11 U.S.C. § 327(e).
                ☐     Other. Explain:

         12.    If the professional is an auctioneer,

                a.       The following are my qualifications and experience with the
                liquidation orsale of similar property: N/A

                b.      The proposed method of calculation of my compensation, including
                ratesand formulas, is: N/A

         ☐ Pursuant to D.N.J. 2014-2, I ☐ do or ☐ do not request a waiver of the requirements of
           D. N.J. LBR 2016-1.

                c.      The following is an estimate of all costs and expenses, including
                labor,security, advertising, delivery, mailing, and insurance, for which I
                will seek reimbursement from the sale proceeds:

                d.       Have you, or a principal of your firm, been convicted of a criminal offense?

                       ☐ No ☐ Yes (explain below)

                e.       I certify that a surety bond as described in D. N. J. LBR 2014-2(a)(6) is in
                         effect and will remain so through the date of turnover of the auction
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                             proceeds.

           13.      If the professional is an auctioneer, appraiser or realtor, the location and
                    description ofthe property is as follows: N/A

  I certify under penalty of perjury that the above information is true.

   Date May 8, 2023                                            /s/ Jeffrey Carhart
                                                               Signature of Professional
